                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  LEWIS COSBY, KENNETH R. MARTIN,               )
  as beneficiary of the Kenneth Ray Martin      )
  Roth IRA, and MARTIN WEAKLEY on               )
  behalf of themselves and all others           )
  similarly situated,                           )
                                                )
               Plaintiffs,                      )
                                                )
  v.                                            )    No.:   3:16-CV-121-TAV-DCP
                                                )
  KPMG, LLP,                                    )
                                                )
               Defendant.                       )


                        MEMORANDUM OPINION AND ORDER

        This civil matter is before the Court on defendant KPMG LLP’s (“KPMG”) Motion

  to Dismiss [Doc. 46] and defendant KPMG’s Motion to Dismiss the Second Amended

  Complaint [Doc. 63]. Defendant KPMG seeks dismissal pursuant to Federal Rule of Civil

  Procedure 12(b)(6).

  I.    Factual Background

        This case is a securities class action, whereby plaintiffs allege claims pursuant to

  Section 10(b) of the Securities Exchange Act and Rule 10b-5, promulgated thereunder, and

  Section 11 of the Securities Act [Doc. 59]. Miller Energy Resources, Inc. (“Miller

  Energy”) was “an independent exploration and production company that explored for,

  developed, and operated oil and gas wells in south-central Alaska and Tennessee” [Id. ¶

  22]. Plaintiffs are Lewis Cosby, Kenneth Martin, and Martin Weakley, who represent a

  class of individuals who purchased Miller Energy stock [Id. ¶¶ 14–16]. Specifically, Cosby



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  and Martin purport to represent a class of common stock shareholders, and Weakley

  purports to represent a class of preferred stock shareholders [Id.]. Individuals who

  purchased common or preferred stock between August 29, 2011, and October 1, 2015, are

  members of the “Section 10(b) Class” [Id. ¶32]. Individuals who purchased preferred

  shares pursuant to or traceable to the offering documents are members of the “Section 11

  Class” [Id. ¶33]. Defendant is KPMG, which is an international accounting firm with an

  office in Knoxville, Tennessee [Id. ¶ 17]. Defendant was retained by Miller Energy as the

  Company’s independent auditor on February 1, 2011 [Id. ¶ 18].

         Ultimately, plaintiffs claim that Miller Energy grossly overstated the value of its oil

  and gas interests in Alaska (the “Alaska Assets”), which caused harm to shareholders.

  Before Miller Energy purchased the Alaska Assets, they had been the subject of a public

  bankruptcy court sponsored auction, but no bidders closed on the sale [Id. ¶ 45]. The

  bankruptcy court approved the abandonment of the Alaska Assets because they were “of

  no value or other benefit” to the former owner [Id.]. This abandonment order was

  rescinded, however, after Miller Energy expressed interest in acquiring the Alaska Assets

  [Id. ¶ 46]. Miller Energy then obtained the Alaska Assets in a bidding auction [Id.].

         After the purchase of the Alaska Assets, Scott Boruff was named the CEO of Miller

  Energy, although he lacked oil and gas experience [¶¶ 41–42]. In the first reserves report,

  the Alaska Assets were estimated at $368 million; however, the engineering firm that

  prepared the report expressly stated that this estimate was not an estimate of fair value for

  reporting purposes [Id. ¶ 50]. Despite the express warning, Boruff included this figure in

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  Miller Energy’s Form 10-Q as the estimate of fair value [Id. ¶ 51]. Boruff also included a

  separate figure of $110 million for acquired fixed assets, but this had actually already been

  included in the $368 million estimate, and thus recording it separately double-counted its

  value [Id. ¶ 52]. In a later, independent investigation by the SEC, the SEC found other,

  similar errors, and that starting in 2010 many of Miller Energy’s financial reports

  materially misstated the value of its assets [Id. ¶ 56].

         On February 1, 2011, Miller Energy hired KPMG as its independent auditor [Id. ¶

  63]. The KPMG team was also led by individuals with no oil and gas industry experience

  [Id. ¶ 64]. On April 14, 2011, the SEC sent a letter to Miller Energy inquiring about the

  Alaska Assets and their reported value of the Alaska Assets [Id. ¶ 66]. Again, on June 7,

  2011, the SEC sent a second letter asking how Miller Energy had estimated the value of

  certain assets within the Alaska Assets [Id.]. Later that same year, on July 28, 2011,

  TheStreetSweeper, a financial website, published an investigative report on Miller Energy,

  claiming that the company had overvalued the Alaska Assets [Id. ¶ 68]. Boruff publicly

  denied this accusation and claimed that the valuations and financial reports were accurate

  [Id. ¶ 69].

         Defendant issued audit reports on Miller Energy’s financial statements for fiscal

  years 2011 through 2014 [Id. ¶ 73]. The audit reports were included in the Miller Energy

  Form 10-K filings that contained the allegedly inflated asset values [Id.]. KPMG reviewed

  Miller Energy’s quarterly financial statements, and plaintiff argues that these reviews were

  not in compliance with generally accepted accounting principles (“GAAP”), generally

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  accepted auditing standards (“GAAS”) and the standards set forth by the Public Company

  Accounting Oversight Board (“PCAOB”). [Id. ¶ 75]. Plaintiffs bring this action, asserting

  that defendant fraudulently made material misrepresentations in relation to the sale or

  purchase of securities in violation of Section 10(b) of the Securities Exchange Act and Rule

  10b-5, promulgated thereunder.       Plaintiffs also assert a series of strict liability and

  negligence claims under Section 11 of the Securities Act. Plaintiffs filed a second amended

  complaint [Doc. 59], which defendant now moves to dismiss [Doc. 63].                Plaintiffs

  responded in opposition [Doc. 68] and defendant replied [Doc. 69].

  II.    Standard of Review

         A.     Rule 12(b)(6) Motions

         A party may make a motion to dismiss under Federal Rule of Civil Procedure

  12(b)(6) asserting that the second amended complaint fails to state a claim upon which

  relief may be granted. Rule 8(a)(2) of the Federal Rules of Civil Procedure requires only

  “a short and plain statement of the claim showing that the pleader is entitled to relief, in

  order to give the [opposing party] fair notice of what the . . . claim is and the grounds upon

  which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal quotation

  marks and citation omitted). In ruling on a Rule 12(b)(6) motion to dismiss, a court must

  construe the second amended complaint in the light most favorable to the plaintiff, accept

  all factual allegations as true, and draw all reasonable inferences in favor of the plaintiff.

  Id. at 555, 570. Detailed factual allegations are not required, but a party’s “obligation to




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  provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

  conclusions.” Id.

         The Court’s task is to determine whether the second amended complaint contains

  “enough facts to state a claim to relief that is plausible on its face.” Id. at 570; Directv,

  Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007) (citation omitted). Unless a complaint

  contains sufficient factual matter to state a plausible claim, it will not survive a motion to

  dismiss. Ashcroft v. Iqbal, 556 U.S. 663, 678 (2009).

         B.     Securities Claims

         Section 10(b) of the Securities Exchange Act and Rule 10b-5, promulgated

  thereunder, prohibit fraudulent, material misrepresentations in relation to the sale or

  purchase of securities. Ind. State Dist. Council of Laborers and Hod Carriers Pension &

  Welfare Fund v. Omnicare, Inc., 583 F.3d 935, 942 (6th Cir. 2009). To succeed on a private

  cause of action for violations thereof, a plaintiff must prove six elements: “(1) a material

  misrepresentation or omission . . . ; (2) scienter; (3) a connection between the

  misrepresentation or omission and the purchase or sale of a security; (4) reliance upon the

  misrepresentation or omission; (5) economic loss; and (6) loss causation.” Matrixx

  Initiatives, Inc. v. Siracusano, 563 U.S. 27, 37–38 (2011) (internal quotation marks and

  citation omitted).   Recklessness satisfies § 10(b)’s scienter element if the plaintiff

  demonstrates that the defendant engaged in “highly unreasonable conduct which is an

  extreme departure from the standards of ordinary care.” La. Sch. Emps. Ret. Sys. v. Ernst




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  & Young, LLP, 622 F.3d 471, 478 (6th Cir. 2010) (internal quotation marks and citation

  omitted).

         No party disputes that the Private Securities Litigation Reform Act (“PSLRA”), 15

  U.S.C. §§ 78u-4 et seq., which was enacted “[a]s a check against abusive litigation by

  private parties,” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313 (2007),

  applies to this case. The PSLRA “imposes more exacting pleading requirements than

  Federal Rules of Civil Procedure 8(a) and 9(b).” Ricker v. Zoo Entm’t, Inc., 534 F. App’x

  495, 499 (6th Cir. 2013) (citations omitted).

         PSLRA’s “exacting pleading requirements” obligate a plaintiff to “state with

  particularity both the facts constituting the alleged violation, and the facts evidencing

  scienter, i.e., the defendant’s intention ‘to deceive, manipulate, or defraud.’” Tellabs, 551

  U.S. at 313 (citation omitted). To plead “the facts constituting the alleged violation,” the

  complaint “must (1) specify the statements that the plaintiff contends were fraudulent, (2)

  identify the speaker, (3) state where and when the statements were made, and (4) explain

  why the statements were fraudulent.” Frank v. Dana Corp., 547 F.3d 564, 570 (6th Cir.

  2008) (internal quotation marks and citation omitted).

         For a pleading to qualify as raising a strong inference of scienter, the inference

  “must be more than merely plausible or reasonable—it must be cogent and at least as

  compelling as any opposing inference of nonfraudulent intent.” Tellabs, 551 U.S. at 314.

  In making this analysis, a court must accept all factual allegations in the complaint as true,

  consider the complaint in its entirety, including documents incorporated into the complaint

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  by reference and matters of which a court may take judicial notice, and “take into account

  plausible opposing inferences.” Id. at 322–24. A complaint failing to comply with

  PSLRA’s pleading requirements “shall” be dismissed. 15 U.S.C. § 78u-4(b)(3)(A).

  III.   Judicial Notice

         Before addressing the motion to dismiss, the Court notes that plaintiffs have asked

  the Court to take judicial notice of the recent indictments and SEC charges against KPMG

  executives [Doc. 71]. Plaintiffs urge the Court to take judicial notice of documents relating

  to “KPMG’s theft of confidential audit inspection information from the Public Company

  Accounting Oversight Board (“PCAOB”)” [Id. p. 1]. Defendant responded in opposition,

  arguing: first, that the SEC order instituting proceedings (“OIP”) was not relevant; second,

  that the indictment and the OIP are not subject to judicial notice; and third, that the OIP

  submitted by plaintiffs is not a true and correct copy [Doc. 73].

         Federal Rule of Evidence 201 permits the Court to take judicial notice of facts that

  are “not subject to reasonable dispute in that [they are] either (1) generally known within

  the territorial jurisdiction of the trial court or (2) capable of accurate and ready

  determination by resort to sources whose accuracy cannot reasonably be questioned.” If

  certain statements or documents are not referenced or relied upon in the complaint, the

  Court may consider taking judicial notice of them if they are public records or are otherwise

  appropriate for judicial notice. See In re Unumprovident Corp. Secs. Litig., 396 F. Supp.

  2d 858, 876 (E.D. Tenn. 2005). In securities fraud cases, specifically, courts may consider

  the “full text of SEC filings, prospectuses, and analysts’ reports not attached to a plaintiff’s

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  complaint if they are integral statements within the complaint.” In re FirstEnergy Corp.

  Secs. Litig., 316 F. Supp. 2d 581, 591 (N.D. Ohio 2004). When considering such

  documents, the Court may not use them to decide disputed facts, but rather may use them

  to determine what statements the documents contain. Id. at 592. Courts may take judicial

  notice of SEC filings when considering Rule 12(b)(6) motions when the documents are

  submitted to establish their contents rather than the truth of the statements contained

  therein. See Murray Energy Holdings Co. v. Mergermarket USA, Inc., No. 2:15-CV-2844,

  2016 WL 3365422, at *6 n.5 (S.D. Ohio June 17, 2016).

         In this case, as defendant notes, it is not obvious to the Court that the SEC indictment

  and the OIP are related to this lawsuit, and plaintiffs have not shown how they are integral

  to the second amended complaint. Additionally, these filings are being used to assert the

  truth of the matters contained within—i.e., that certain KPMG executives engaged in

  “conduct even more egregious than would be necessary for scienter here” [Doc. 71 p. 2].

  Thus, the Court finds that it is not appropriate to take judicial notice of the indictments and

  SEC charges as plaintiffs request.

  IV.    Securities and Exchange Act 10(b) Allegations

         In the motion to dismiss, defendant argues that for Counts I and II, the 10(b)

  allegations, plaintiffs have failed to plead scienter, they have failed to plead loss causation,

  and the two-year statute of limitations bars the claims.




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         A.     Scienter

         First, defendant argues that plaintiffs failed to plead scienter. Defendant asserts that

  plaintiffs are required to plead facts giving rise to a “strong inference,” 15 U.S.C. § 78u-

  4(b)(2), of an “intent to deceive, manipulate or defraud.” Ernst & Ernst v. Hochfelder, 425

  U.S. 185, 193 n.12 (1976). Defendant argues that plaintiffs failed to meet this standard

  because plaintiffs only make conclusory assertions that defendant acted “knowingly or

  recklessly” [Doc. 64 p. 9].

         In response, plaintiffs argue that their pleadings demonstrate defendant ignored red

  flags and refused to acknowledge obvious warning signs [Doc. 68 p. 13]. These warning

  signs included, among others, justifying “baseless” broker reports, double counting above-

  ground infrastructure, and reading The StreetSweeper article criticizing the Alaska Assets’

  valuation [See e.g., Doc. 59 ¶¶ 52, 116, 124, 145]. Plaintiffs also assert that KPMG knew

  that Miller Energy’s accounting department had little or no accounting experience [Id. ¶¶

  42, 64–65, 83] and that Miller Energy failed to form an internal audit group [Id. ¶¶ 85, 98]

  or make sure the SEC filings were made on time [Id. ¶¶ 87, 98, 181].

         The requisite state of mind for a Section 10(b) claim is the “intent to deceive,

  manipulate or defraud.” Hochfelder, 425 U.S. at 193 n.12. The plaintiff must allege facts

  that, taken together, raise a “strong inference” of scienter. Tellabs, Inc. v. Makor Issues &

  Rights, Ltd., 551 U.S. 308, 322–23 (2007). The Court must consider competing inferences,

  including “plausible, nonculpable explanations for the defendant’s conduct.” Id. at 324. If

  two explanations are given, one showing intent to deceive and one showing innocent

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   activity, the Court should deny the motion to dismiss. Frank v. Dana Corp., 547 F.3d 564,

   571 (6th Cir. 2008) (“Frank I”).

          A plaintiff alleging recklessness can also satisfy the scienter requirement as long as

   the plaintiff shows that the defendant’s actions were “highly unreasonable” and represented

   an “extreme departure from the standards of ordinary care.” La. Sch. Emps.’ Ret. Sys. v.

   Ernst & Young, LLP, 622 F.3d 471, 481 (6th Cir. 2010). In securities cases regarding an

   outside auditor, however, the “recklessness requires a mental state ‘so culpable that it

   approximate[s] an actual intent to aid in the fraud being perpetrated by the audited

   company.” Id. (quoting PR Diamonds, Inc. v. Chandler, 364 F.3d 671, 693 (6th Cir. 2004),

   abrogated on other grounds, Beydoun v. Sessions, 871 F.3d 459 (6th Cir. 2017)). The

   plaintiff must show that the outside auditor deliberately ignored “highly suspicious facts.”

   Id. at 479. For example, plaintiff

          must prove that the accounting practices were so deficient that the audit
          amounted to no audit at all, or an egregious refusal to see the obvious, or to
          investigate the doubtful, or that the accounting judgments which were made
          were such that no reasonable accountant would have made the same
          decisions if confronted with the same facts.

   PR Diamonds, Inc., 364 F.3d at 693–94 (quoting In re Worlds of Wonder Secs. Litig., 35

   F.3d 1407, 1426 (9th Cir. 1994).

          Plaintiffs in this case have satisfied the scienter requirement by pleading that the

   defendant deliberately ignored “highly suspicious facts.” See La. Sch. Emps.’ Ret. Sys.,

   622 F.3d at 479. Construing all reasonable inferences in plaintiff’s favor, plaintiff has

   adequately alleged that defendant’s conduct was an “egregious refusal to see the obvious,

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   or to investigate the doubtful.” PR Diamonds, Inc., 364 F.3d at 693–94 (quoting In re

   Worlds of Wonder Secs. Litig., 35 F.3d at 1426).

          Plaintiffs allege that Boyd made a series of mistakes in preparing Miller Energy’s

   reports before defendant was hired [Doc. 59 ¶¶ 49–52]. These reports were later found to

   have “materially misstated the value of [the Alaska] assets” [Id.]. When Miller Energy

   hired defendant in February 2011, defendant did not complete an independent audit but

   relied on previous reports and defended the valuation of the assets [Id. ¶ 67]. Even after a

   report from TheStreetSweepers questioned the valuation of Miller Energy’s assets,

   defendant represented to shareholders that the valuation was accurate and that the article

   was inaccurate [Id. ¶¶ 68–69].

          Plaintiffs further allege that the audit reports contained unqualified opinions on

   Miller Energy’s annual financial statements for fiscal years 2011–2014 [Id. ¶ 73]. Plaintiffs

   assert that the use of these reports, among other things, constituted violations of GAAP,

   GAAS, and PCAOB. Plaintiffs assert that defendant knew that Miller Energy’s CEO

   lacked experience and that the accounting department was inadequately staffed [Id. ¶¶ 84–

   85]. In fact, plaintiffs point to several instances where defendant identified the fact that

   errors were being made and that there were weaknesses in internal control over financial

   reporting [Id. ¶¶ 89–93]. For example, defendant did not have industry-trained experts

   conducting the audits, which violates standards set forth by PCAOB [Id.¶ 103]. Defendant

   knew that certain reports had been prepared for purposes other than estimating fair value,




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   and yet defendant relied on the reports to issue an unqualified opinion on Miller Energy’s

   financial statements [Id. ¶ 117].

          Although “the failure to follow GAAP is, by itself, insufficient to state a securities

   fraud claim,” plaintiffs have shown more than mere GAAP violations. In re Comshare

   Inc. Sec. Litig., 183 F.3d 542, 553 (6th Cir. 1999). Plaintiffs, here, have alleged facts to

   show that defendant knew or could have known of its errors—plaintiffs have stated that

   defendant knew the partner-in-charge was unqualified and that the reports being relied on

   for a fair value estimate were prepared for a different purpose. Plaintiffs have alleged facts

   to show that defendant’s “regular procedures should have alerted defendant to the errors

   sooner than they actually did.” Id.

          Plaintiffs have also shown numerous “red flags,” such as the article published by

   TheStreetSweepers and the inquiries by the SEC, which should have put defendant on

   notice of possible violations. In PR Diamonds, Inc., plaintiffs only identified the fact that

   accounts receivable increased at a greater rate than the operating revenues, and they argued

   that this constituted a red flag and thus put defendant on notice. 364 F.3d at 693. The court

   held that this allegation was not significant enough to “cry out scienter.” Id. (internal

   quotation omitted). Here, plaintiffs have alleged numerous red flags including, among

   others, GAAP, GAAS, and PCAOB violations as well as SEC investigations and public

   inquiries into Miller Energy. Because of the number of alleged red flags, and because

   defendant admits to knowing of several alleged red flags, plaintiffs have sufficiently pled

   scienter to survive the motion to dismiss stage in the proceedings.

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          B.     Loss Causation

          Second, defendant asserts that plaintiffs fail to show loss causation. Defendant

   argues that while plaintiffs allege that they purchased shares at inflated prices and later

   suffered an economic loss, plaintiffs fail to show a causal link between the two [Doc. 69 p.

   17]. Defendant asserts that loss causation is an “essential element that must be pleaded

   with particularity” [Id. at 18]. Defendant argues that plaintiffs have failed to plead that the

   defendant’s conduct caused the loss.

          In response, plaintiffs assert that they have adequately pled loss causation. They

   argue that they are only required to give an “indication of the loss and the casual

   connection.” Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 347 (2005). Plaintiffs note that

   in the Sixth Circuit, loss causation can be shown through a “corrective disclosure” theory

   and through a “materialization of risk theory.” Ohio Pub. Emps. Ret. Sys. v. Fed. Home

   Loan Mortg. Corp., 830 F.3d 376, 384–85 (6th Cir. 2016). Under the corrective disclosure

   theory, “the market reacts negatively to a disclosure of facts and truth concealed by the

   alleged fraud,” and under the materialization of risk theory, “the market reacts negatively

   to the materialization of foreseeable risks concealed by the alleged fraud” [Doc. 68 pp. 27–

   28]. Plaintiffs argue that the occurrence of an event or a disclosure need not show the exact

   nature of the fraud. See Pub. Emps. Ret. Sys. v. Amedisys, Inc., 769 F.3d 313, 322 (5th Cir.

   2014). The loss causation theory only needs to be plausible to survive a motion to dismiss.

   Ohio Pub. Emps. Ret. Sys., 830 F.3d at 388. Plaintiffs allege that defendant’s “misconduct

   concealed the massive and foreseeable risk of Miller’s inevitable collapse, causing equally

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   massive and foreseeable losses as that risk, and the truth, materialized and leaked out in

   various ways” [Doc. 68 p. 28; Doc. 59 ¶¶ 197–248]. Plaintiffs thus assert that they have

   properly pled loss causation required to survive a motion to dismiss.

          Loss causation is the causal link between the loss and the misrepresentation. Dura

   Pham. Inc., 544 U.S. at 342. Plaintiffs are required to allege both causation and loss to put

   defendants on notice regarding the relevant economic loss and the causal link to

   defendant’s conduct. Id. at 346–47. This is not a high burden—a plaintiff who has suffered

   economic loss should be able to provide a defendant with some information about the loss

   and the plaintiff’s causal theory. Id. at 348. The plaintiff must show how or when

   defendant’s misconduct was disclosed or when certain risks materialized. See Ind. State

   Dist. Council of Laborers, 583 F.3d at 945.

          In this case, plaintiffs have properly pled loss causation. Plaintiffs primarily set

   forth a materialization of risk theory [Doc. 68 p. 28], and assert that “the risks concealed

   by that fraud, including by [defendant]’s participation in it, leaked out, were revealed, and

   materialized” [Doc. 59 ¶ 198]. Plaintiffs assert that a variety of sources began questioning

   defendant’s valuation of the Alaska Assets [Id. ¶¶ 199–204]. In addition, plaintiffs point

   to several events, including a dramatic fall in stock prices, which were triggered by the

   revelation and leaking of defendant’s fraud [See, e.g., id. ¶¶ 205–217].

          For example, in December 2013, a published report questioned Miller Energy’s

   stability, and shortly thereafter, the stock prices fell for Miller Energy’s stock, Series C

   preferred stock, and Series D preferred stock [Id. ¶¶ 200–205]. In March 2014, Miller

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   Energy filed a Form 8-K, which announced that it had experienced an operating loss [Id. ¶

   206]. Around this same time, stock prices fell again [Id. ¶ 208]. In July 2014, Miller

   Energy filed its Form 10-K, which included defendant’s unqualified audit report and

   presented valuations that were based on fraudulent cost figures [Id. ¶ 209]. Around this

   same time, Miller Energy filed a Form 8-K, which reported an increase in net loss [Id. ¶

   210]. After stock fell yet again, Miller Energy stock became the subject of margin calls,

   which plaintiffs argue were a foreseeable consequence of defendant’s fraud [Id. ¶ 215].

   Stock prices continued to drop. This pattern of activity continued until April 2015 when

   Miller Energy revealed that it had received a “Wells Notice” from the SEC [Id. ¶ 223]. In

   August 2016, the SEC commenced an administrative proceeding, alleging fraudulent

   overvaluation of the Alaska Assets [Id. ¶ 228].

          Based on the second amended complaint, plaintiffs have shown a causal link

   between the loss and the alleged misrepresentation. See Dura Pharm. Inc., 544 U.S. at

   342. Plaintiffs have provided detailed allegations of loss, and they have clearly asserted

   that this loss was a direct result of disclosures regarding Miller Energy’s operating loss and

   questionable cost figures. At this stage, plaintiffs are not required to articulate an exact

   chain of evidence leading from the alleged fraud to the loss. They are only required to put

   defendant on notice and provide information about their causal theory. To require anything

   more from plaintiffs at this stage would raise the standard beyond what the Supreme Court

   held in Dura Pharmaceuticals, Inc. v. Broudo by requiring plaintiffs to have their entire

   case supported by clear evidence without the benefit of conducting discovery. The

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   heightened standard at the motion to dismiss stage in securities litigation under the PSLRA

   was intended to “check against abusive litigation,” not to eliminate litigation entirely.

   Tellabs, Inc., 551 U.S. at 313 (2007).

          C.     Statute of Limitations

          Finally, defendant asserts that the two-year statute of limitations has run on the

   Section 10(b) claims. Defendant argues that these claims are time-barred pursuant to 28

   U.S.C. § 1658(b) because plaintiffs filed the initial complaint more than two years after

   any violations could have been uncovered through reasonably diligent investigation [Doc.

   69 p. 18]. Defendant argues that based on the allegations set forth in the initial complaint,

   plaintiffs knew of or should have discovered the alleged wrongdoing before March 14,

   2014. Defendant asserts that the alleged facts giving rise to the securities fraud claim were

   known for many years as they had been the basis for previous lawsuits against Miller

   Energy and its chief executives. Defendant points out that the plaintiffs in those cases had

   discovered facts necessary to file a complaint in 2011, and this Court denied the motions

   to dismiss on February 4, 2014. Defendant further argues that plaintiffs’ allegations are

   based on publicly disclosed documents dating back to before February 14, 2014.

          Plaintiffs assert that the Court must first determine whether the Section 11 claims

   are timely because if they are, the 10(b) claims are necessarily timely as well given the

   longer statute of limitations for 10(b) claims [Doc. 68 p. 17 n.12].1 Plaintiffs argue that



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           The Court addresses the Section 11 statute of limitations issue separately. Infra
   Section V.D.
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   “[defendant]’s potential complicity remained significantly obscured” before February 14,

   2014 [Doc. 68 p. 39]. Plaintiffs argue that most of the facts relied on to show that

   defendant was culpable of Section 11 claims only came after March 14, 2015 [Id.].

   Specifically, the plaintiffs argue that the SEC’s investigation of Miller Energy in 2015

   created a clearer picture of the alleged recklessness of defendant’s conduct [Id.].

             In civil actions, the statute of limitations only starts to run upon “discovery of the

   facts constituting the violation.” Merck & Co. v. Reynolds, 559 U.S. 633, 648 (2010)

   (citing 28 U.S.C. § 1658(b)(1)). In securities fraud litigation, facts that “constitute” part of

   the violation are facts that go to the essential elements of a claim. For example, in a 10b

   claim, scienter is a fact that is necessary and constitutes a violation. Id. “Discovery” of

   these essential facts means that the facts were actually discovered or that a reasonably

   diligent individual would have discovered the facts constituting the violation. Id. at 653.

   This means the statute of limitations period cannot begin to run before a reasonable plaintiff

   would have started to investigate the facts. Id. A plaintiff need not actually investigate the

   facts—the standard is whether a reasonable person in the same situation would have done

   so. Id.

             When determining whether a reasonable plaintiff would have investigated, the Court

   can consider factors like whether the plaintiff was on “inquiry notice” or whether there

   were “storm warnings” that should have prompted the plaintiff. Merck, 559 U.S. at 653.

   However, mere knowledge of suspicious facts does not equal “inquiry notice”; the facts

   must have triggered a duty to investigate. In re EveryWare Global, Inc. Secs. Litig., 175

                                                   17


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   F. Supp. 3d 837, 862 (S.D. Ohio 2016). Deciding that certain facts triggered a duty to

   investigate is a factual question that the plaintiff bears the burden of proving. Id. Plaintiffs

   are on inquiry notice if the “uncontroverted evidence irrefutably demonstrates when

   plaintiff discovered or should have discovered.” Gaynor v. Miller, 273 F. Supp. 3d 848,

   867 (E.D. Tenn. 2017) (quoting Newman v. Warnaco Grp., Inc., 335 F.3d 187, 194–95 (2d

   Cir. 2003)). Determining whether a plaintiff was on inquiry notice of a 10b-5 claim “is a

   question of fact, and as such is often inappropriate for resolution on a motion to dismiss

   under Rule 12(b)(6).” In re EveryWare Global, 175 F. Supp. 3d at 862. (quoting Marks v.

   CDW Comp. Ctrs., Inc., 122 F.3d 363, 367 (7th Cir. 1997)).

          At this stage in the litigation, defendant has failed to show that the statute of

   limitations had clearly run prior to plaintiffs’ filing their initial complaint. As noted in

   Everyware Global, it is typically “inappropriate” to determine the issue of statute of

   limitations at the motion to dismiss stage. See id. Even if plaintiffs were aware of the

   previous lawsuits, these lawsuits are not enough to conclude at this point in the proceedings

   that the statute of limitations period was triggered. See Gaynor, 273 F. Supp. 3d 848. The

   Court will now turn to the specific counts alleged in the second amended complaint.

          D.     Count I: Violation of Section 10(b) of the Securities Exchange Act of
                 1934 and Rule 10b-5(b) Promulgated Thereunder

          Plaintiff brings Count I under the provisions of Rule 10b-5(b). Plaintiff alleges that

   defendant fraudulently concealed material information about Miller Energy that caused

   Miller Energy to misstate and omit material facts in its financial reporting [Doc. 59 ¶ 257].

   Plaintiffs allege that from April 30, 2011, through April 30, 2014, defendant knew, or was
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   reckless in not knowing, that the annual financial results were misleading because they

   were materially overstated and were not in accordance with GAAP [Id. ¶ 258]. In addition,

   plaintiffs allege that the audits were not in accordance with the GAAS, and so the audit

   reports were false and misleading [Id.]. Plaintiff alleges that because Miller Energy relied

   on these fraudulent valuations and material misstatements, Miller Energy’s quarterly and

   annual filings materially misstated its assets, which artificially inflated the market price of

   the Miller Energy’s securities [Id. ¶¶ 260–61]

          The Court will now turn to defendant’s assertion that plaintiffs have failed to allege

   an actionable misstatement [Doc. 64 p. 20]. Specifically, defendant argues that plaintiffs

   must show in the pleadings that defendant did not believe the opinions contained in the

   audit report to be true [Id.]. In order to sufficiently plead an actionable misstatement or

   omission of material fact, the plaintiff must allege “the misstatement or omission of a

   material fact, made with scienter, upon which the plaintiff justifiably relied and which

   proximately caused the plaintiff’s injury.” In re Comshare Inc. Securities Litig., 183 F.3d

   542, 548 (6th Cir. 1999). Opinions are actionable under Section 10(b) if “the speaker does

   not believe the opinion and the opinion is not factually well-grounded.” Mayer v. Mylod,

   988 F.2d 635, 639 (6th Cir. 1993). The Court must determine whether “plaintiff has

   pleaded particular facts sufficient to demonstrate that [defendant] did not believe” the

   statements at the time they were made.

          In plaintiffs’ second amended complaint, plaintiffs allege that the annual financial

   results and audits were misleading statements and that defendant knew or should have

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   known that they were misleading. Plaintiffs assert that these statements were obvious

   violations of GAAP and GAAS principles. While violations of GAAP and GAAS

   principles are not alone sufficient to meet the pleading standard for alleging scienter,

   showing gross violations is sufficient to meet the pleading standard for alleging a

   misstatement. See In re Comshare Inc. Securities Litig., 183 F.3d 542, 548 (6th Cir. 1999).

   Plaintiff must only plead the misstatements with “particularity.” Fed. R. Civ. P. 9(b). Here,

   plaintiffs have alleged that the defendant knew or should have known that the Form 8-Ks,

   Form 10-Ks, and Form 10-Qs contained material misstatements about the value of the

   Alaska Assets. Taking the allegations as true, and viewing the second amended complaint

   as a whole, a reasonable person could conclude that defendant was aware that the financial

   statements and audits were misleading because defendant consistently failed to follow

   GAAP and GAAS principles as well as defendant’s own internal policies. Accordingly,

   the Court finds that plaintiffs have sufficiently pled a claim under Section 10(b) and Rule

   10b-5(b).

          E.     Count II: Violation of Section 10(b) of the Exchange Act and Rule 10b-
                 5(a) and (c) Promulgated Thereunder

          Plaintiffs bring a scheme liability claim under the provisions of Rule 10b-5(a) and

   (c). Plaintiffs allege that defendant performed bookkeeping, appraisal, and valuations to

   justify misleading valuations of the Alaska Assets [Doc. 59 ¶ 278]. Additionally, plaintiffs

   assert that defendant defended the valuation to the SEC and met with potential investors to

   boost Miller Energy’s credibility [Id.]. Plaintiffs assert that they purchased Miller Energy

   securities because they were not aware of defendant’s conduct [Id. at 279].
                                                20


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          Defendant argues that plaintiffs fail to allege an actionable scheme. Defendant

   argues that plaintiffs’ scheme liability claim is based on deceptive conduct rather than

   misstatements or omissions. Defendant argues that its role in the alleged misstatements

   was indirect and was “too remote for liability.” Stoneridge Inv. Partners, LLC v. Scientific-

   Atlanta, Inc., 552 U.S. 148, 159 (2008). Defendant asserts that plaintiffs had no knowledge

   of defendant’s conduct and thus cannot show that they relied on defendant’s actions.

   Furthermore, defendant argues that it did not actually “make” the alleged misstatement but

   simply contributed to its preparation. Defendant cites Janus Capital Group, Inc. v. First

   Derivative Traders where the Supreme Court considered what it means to “make” a

   statement. 564 U.S. 135. In Janus, the Supreme Court considered whether a company

   could be held liable for misrepresentations made by its investment advisor—the Supreme

   Court held that it could not. Id. Defendant further argues that its activity was “behind-the-

   scenes” and that it was not the “maker” of the statement [Doc. 64 p. 22].

          Scheme liability originates from Central Bank of Denver, N.A. v. First Interstate

   Bank of Denver. N.A., where the Supreme Court noted that secondary actors could be held

   liable under the securities acts. 511 U.S. 164, 191 (1994). Under this theory, a court must

   determine what role the alleged secondary actor played in disseminating faulty

   information. Id. In Janus, the Supreme Court held that “[o]ne ‘makes’ a statement by

   stating it.” 564 U.S. at 142. The Court went on to say that “[f]or the purposes of Rule 10b-

   5, the maker of a statement is the person or entity with ultimate authority over the statement,

   including its content and whether and how to communicate it.” Id. The Court held that

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   even a speechwriter who drafts a speech is not in control of its content—rather, it is the

   person who actually delivers the speech who is in control. Id.; see also Central Bank of

   Denver, N.A., 511 U.S. at 180. Previously, in Stoneridge Investment Partners, LLC, the

   Court held that the entity that actually filed fraudulent financial statements was responsible

   because, while the defendants acted “in connection” with those statements, they did not

   make it “inevitable” that the entity would actually record the transactions. 552 U.S. 148,

   161 (2008). Without “authority over the content of the statement and whether and how to

   communicate it,” Janus Capital Group, Inc., 564 U.S. at 144, it is not “necessary or

   inevitable” that a false statement would actually be made, Stoneridge Inv. Partners, LLC,

   552 U.S. at 161.

          After determining that a secondary actor made a statement, a plaintiff must next

   establish a causal link, showing that the shareholders relied on the statement. Id. at 159;

   see also W. Va. Pipe Trades Health & Welfare Fund v. Medtronic, Inc., 845 F.3d 384, 393–

   94 (8th Cir. 2016) (“[U]nder Stoneridge, a plaintiff asserting a scheme liability claim must

   demonstrate that the causal connection between the defendants’ alleged deceptive act and

   the information on which the market relied is not too remote to support a finding of

   reliance.”). In Medtronic, Medtronic had allegedly manipulated clinical trials and, in

   speaking with investors, had told investors of the favorable results, which the investors

   then relied on. 845 F.3d at 394. The court held that the causal connection was not too

   remote. Id.




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         While the question of who made the alleged misstatement and the question of causal

   connection between the statement and plaintiffs’ reliance on the statement are separate

   questions, they each require the Court to determine the roles of each party—determining

   who said what, when, and to whom. In this case, defendant made a statement to Miller

   Energy in the form of an independent audit and prepared financial statements. Miller

   Energy then turned around and made a statement to its shareholders and the SEC in the

   form of its public filings. The question this Court must decide is whether defendant or

   Miller Energy had ultimate authority over the public filings that were relied upon by the

   shareholders. See Janus, 564 U.S. at 142.

         The relationship between a company and its independent auditor is not distinct from

   the relationship between a speaker and a speechwriter. Just as a speaker is ultimately free

   to say whatever he or she chooses, regardless of what the speechwriter drafted, a company

   is free to present whatever financial statements it chooses, regardless of an auditor’s

   opinion. See Auditing Standards of the Public Company Accounting Oversight Board,

   Public Company Accounting Oversight Board, 4 (Dec. 15, 2017). One of the reasons that

   companies hire auditors is because of their independence—auditors must be “qualified and

   independent of their audit clients both in fact and in appearance.” 17 C.F.R. § 210.2–01.

   This is to ensure that the financial statements given to shareholders conform with GAAS.

         The Court recognizes that the auditor is to “express an opinion on the financial

   statements” whereas company management is responsible for establishing internal controls

   over the company’s accounting. Auditing Standards of the Public Company Accounting

                                               23


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   Oversight Board, Public Company Accounting Oversight Board, 4 (Dec. 15, 2017). The

   Court also recognizes that it is the management’s responsibility to present the financial

   statements, and it is the auditor’s job to make suggestions about the form or content of the

   financial statements or draft them, in whole or in part.         Id. at 4–5.    An auditor’s

   “responsibility for the financial statements . . . is confined to the expression of his or her

   opinion on them.” Id. at 5.

          Companies are required to file audited financial statements to encourage public

   confidence in investment. United States v. Arthur Young & Co., 465 U.S. 805, 819 n.15

   (1984). The independent auditor is responsible for verifying that the financial reports

   comply with GAAS and GAAP. Id. at 811. The auditor then issues an opinion about the

   financial statements, noting whether the financial statements appear to be accurate or

   whether there are material concerns with the representations made by the financial

   statements. Id. This encourages the public to invest by assuring people that they are relying

   on accurate information when making investment decisions. Id.

          While auditors assist in the preparation of financial statements, they do not have

   ultimate authority over the statements and are therefore only secondary actors. See Janus,

   564 U.S. at 142. In Pacific Investment Management Col, LLC v. Mayer Brown LLP, the

   Second Circuit held that merely identifying someone involved in a transaction behind the

   scenes is insufficient to create Rule 10b-5 liability. 603 F.3d 144, 155 (2nd Cir. 2010).

   Although not binding on this Court, this holding is consistent with the Supreme Court’s

   holding in Janus. Only the actor that disseminates the statement is the “maker” of the

                                                24


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   statement for purposes of Rule 10b-5 liability—thus, the mere creation of a statement or

   contribution to a statement is not sufficient. Id.; see also Janus, 564 U.S. at 142.

          The alleged misstatements in this case were the annual financial results and audits

   prepared by defendant and publicly filed by Miller Energy.             The information that

   shareholders relied on was distributed by Miller Energy by way of its public filings. The

   information was not shared or distributed by defendant.            Defendant assisted in its

   preparation, but any information that the shareholders claimed to have relied on was

   contained in the public filings made by Miller Energy. Defendant performed a job similar

   to that of a speechwriter, but ultimately it was Miller Energy’s decision to file specific

   financial statements and make a public statement about the company’s assets. The

   shareholders only became aware of the annual financial results and audits when Miller

   Energy filed them, not when defendant prepared them. Applying the standard set forth in

   Janus, defendant did not have “ultimate control” over the alleged misstatements, so issuing

   those statements was not “necessary or inevitable.” 564 U.S. at 142. Thus, the Court finds

   that Count II, that is, scheme liability, fails.

   V.     Count III: Violation of Section 11 of the Securities Act

          Plaintiffs bring Count III under Section 11 of the Securities Act. 15 U.S.C. § 77k.

   Plaintiffs allege that the offering documents2 were materially misleading, which

   demonstrates a breach of a duty of care owed to the purchasers [Doc. 59 ¶¶ 319–21].

   Plaintiffs allege that defendant consented to the incorporation of its unqualified auditor’s


          2
              As defined in the second amended complaint [Doc. 59].
                                                  25


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   reports [Id. ¶ 318]. Plaintiffs assert that members of the Section 11 class relied on the false

   information [Id. ¶ 326].

          In its motion to dismiss, defendant first argues that Mr. Weakley is not authorized

   to serve as lead plaintiff in bringing the Section 11 claim on behalf of a proposed class of

   purchasers of the Miller Energy preferred stock. Defendant argues that others applied to

   be co-lead plaintiffs to represent purchasers of the common stock, but that Mr. Weakley

   and his counsel failed to do so for the preferred stock. Defendant next argues that the

   Section 11 claim is time barred because it does not relate back to the date of the original

   complaint, it was brought more than three years after the security was a bona fide offer,

   and it was brought more than one year after the discovery of the untrue statements.

          Plaintiffs responded, asserting that Mr. Weakley was not the only individual who

   brought the Section 11 claims, and since defendant did not challenge the other individuals’

   authority to bring Section 11 claims, defendant’s argument fails [Doc. 68 pp. 35–36].

   Plaintiff also argues that its Section 11 claims relate back to statements or documents in

   the original complaint, which put defendant on notice [Id. at 37]. Finally, plaintiffs argue

   that the statute of limitations question cannot be decided on a motion to dismiss because it

   is factual in nature [Id. at 39].3




          3
            The issue of the statute of limitations has already been addressed for Section 10(b)
   claims. Supra Section IV.C.
                                                     26


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          A.     Serving as Lead Plaintiff

          The Court finds that defendant’s motion to dismiss the Section 11 claim on the basis

   that Mr. Weakley is not authorized to serve as lead plaintiff is premature because the parties

   have yet to move to certify the class. Accordingly, the Court denies the motion to dismiss

   the Section 11 claim on this basis. The parties may move for leave to refile the motion to

   dismiss the Section 11 claim on this basis alone after the issue of class certification has

   been raised by the parties or ruled on by this Court.

          B.     Relation Back

          In the original complaint, plaintiff Cosby only asserted a Section 11 claim against

   all defendants on behalf of “Miller Energy common shares traceable to the September 6,

   2012 Registration Statement” [Doc. 1 ¶ 138]. Later, in the first amended complaint,

   plaintiffs Martin and Weakley joined the action; however, no Section 11 claim was asserted

   against defendants [See Doc. 35]. Finally, in the second amended complaint, plaintiffs

   Cosby, Martin, and Weakley asserted a Section 11 claim against remaining defendant

   KPMG on behalf of the Section 11 Class, which only included shareholders of Series C

   and Series D preferred stock [Doc. 59 ¶ 322].

          Federal Rule of Civil Procedure 15(c)(1) allows the relation back of an amendment

   in one of three situations: (A) when allowed by statute; (B) when the asserted claim arises

   out of the same conduct, transaction, or occurrence in the original complaint; and, (C) when

   a new party against whom a claim is asserted is added and that claim arises out of the same




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   conduct, transaction, or occurrence. The amendment is only required to satisfy one of these

   requirements. Brown v. Shaner, 172 F.3d 927, 932 (6th Cir. 1999).

          Rule 15(c)(1)(C) allows relation back when an amendment changes a party, but this

   rule is limited to changes in defendants, not plaintiffs. Asher v. Unarco Material Handling,

   Inc., 596 F.3d 313, 318 (6th Cir. 2010). Adding a new plaintiff establishes a new cause of

   action that does not relate back to the original filing. Id. Plaintiffs argue that Asher is

   inapplicable because plaintiff Crosby asserted a Section 11 claim against defendant in the

   original complaint [Doc. 68 p. 37]. Plaintiffs argue that “Asher was about the addition of

   claims that had not been originally [sic] asserted, by plaintiffs who were not original

   parties” [Id. (emphasis in original)]. However, in this case, while plaintiff Crosby did

   assert a Section 11 claim in the original complaint, it was on behalf of the common stock

   shareholders [Doc. 1]. In the second amended complaint, this claim was asserted only on

   behalf of the preferred stock shareholders, who had been added in the first amended

   complaint. Thus, a new plaintiff was added, and allowing the preferred stock shareholders

   to assert a Section 11 claim would allow potentially “untimely plaintiffs to ride piggyback

   on the claims of timely plaintiffs.” Asher, 596 F.3d at 318. In this case, because plaintiff

   Cosby added plaintiffs Martin and Weakley after the original complaint was filed, and

   plaintiff Weakley purports to represent an entirely new class of shareholder [Doc. 59], Rule

   15(c)(1)(C) does not apply.

          Determining whether Federal Rule of Civil Procedure 15(c)(1)(B) applies is a bit

   trickier. Rule 15(c)(1)(B) establishes that amendments relate back to the date of the

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   original pleading when “the amendment asserts a claim or defense that arose out of the

   conduct, transaction, or occurrence set out—or attempted to be set out—in the original

   pleading.” “In a securities fraud action, courts examine whether the allegations relate to

   the same statements and/or documents referenced in the original complaint.” In re Enron

   Corp., No. H-01-3624, 2005 WL 1638039, at *4 (S.D. Tex. June 21, 2005) (internal

   quotation marks omitted). The Court should ask “whether the party asserting the statute of

   limitations defense had been placed on notice that he could be called to answer for the

   allegations in the amended pleading.” United States ex rel. Bledsoe v. Cmty. Health Sys.,

   Inc., 501 F.3d 493, 516 (6th Cir. 2007).

          The second amended complaint asserts a new Section 11 claim for damages based

   on the decline of Miller Energy’s Series C and Series D Preferred Stock [Doc. 59 ¶¶ 317–

   322], while the original complaint asserted a Section 11 claim based on the decline of

   Miller Energy’s common stock [Doc. 1 ¶¶ 133–140]. While this distinction is relevant to

   the Rule 15(c)(1)(C) new party analysis, it is also relevant to determining whether plaintiffs

   asserted a new claim. Because the purported damages stemmed from different harm in the

   original complaint and the second amended complaint, it is a separate claim for purposes

   of Rule 15(c)(1)(B). The Court next turns to the question of whether this new claim “arose

   out of the conduct, transaction, or occurrence set forth or attempted to be set forth in the

   original pleading.” Fed. R. Civ. P. 15(c)(1)(B). In the original complaint, plaintiff Cosby

   argued that the Section 11 claim arose from the September 6, 2012, Registration Statement,

   which was later utilized for all the stock offerings [Doc. 1 ¶ 52]. In the second amended

                                                29


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   complaint, plaintiffs argue that the Section 11 claim also arose from September 6, 2012,

   Registration Statement and the future offerings incorporated therein [Doc. 59 ¶¶ 285–86].

   Regardless of whether plaintiffs are now asserting damages stemming from the sales of

   preferred stock as opposed to damages stemming from the sales of common stock, both

   claims are rooted in the September 6, 2012, Registration Statement as outlined in both the

   original complaint and the second amended complaint. Thus, the Section 11 claims arose

   from the same documents, which satisfies the Rule 15(c)(1)(B) requirement.

          C.     Statute of Repose

          As plaintiffs note in their response brief, defendant’s argument that the Section 11

   claims are barred by the Securities Act’s three-year statute of repose hinges on the success

   of their relation back argument [Doc. 69 p. 38 n. 32]. Because the Court finds that the

   second amended complaint relates back to the original complaint under Rule 15, the Court

   also finds that the Section 11 claim is not barred by the statute of repose. Section 13 of the

   Securities Act states that “[i]n no event shall any such action be brought to enforce a

   liability created under Section 11 . . . more than three years after the security was bona fide

   offered to the public.” 15 U.S.C. § 77m (2006). Defendant argues, and plaintiffs do not

   dispute, that the securities were bona fide offered on September 18, 2012, which is the date

   the registration statement was declared effective by the SEC [Doc. 64 p. 28]. The date of

   the prospectus supplement is only relevant if it “contains new audited financial statements

   or other financial information as to which the accountant is an expert and for which a new

   consent is required pursuant to section 7 of the Securities Act.”                  17 C.F.R.

                                                 30


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   § 230.430(B)(f)(5)(i). Plaintiffs allege that the September 25, 2013, October 17, 2013, and

   August 20, 2014, prospectus statements incorporated new audited financial statements.

   The original complaint was filed on March 14, 2016, which is less than three years after

   the September 25, 2013 prospectus statement. Thus, the exception to the rule that the date

   of the prospectus supplement does not trigger the statute of repose applies in this case, and

   the Court finds that the statute of repose does not bar the Section 11 claim.

          D.     Statute of Limitations

          Finally, the Court turns to the statute of limitations question. Defendant claims that

   plaintiffs’ duty to investigate was triggered in December 2013 by leaked information about

   defendant’s alleged fraud [Doc. 64 p. 33]. The Sixth Circuit has held that “knowledge of

   suspicious facts—‘storm warnings,’ they are frequently called—merely triggers a duty to

   investigate, and that the limitation period begins to run only when a reasonably diligent

   investigation would have discovered the fraud.” New England Health Care Employees

   Pension Fund v. Ernst & Young, LLP, 336 F.3d 495, 501 (6th Cir. 2003). This inquiry,

   however, is fact specific, and “a motion to dismiss on statute of limitations grounds should

   be granted when the statement of the claim affirmatively shows that the plaintiff can prove

   no set of facts that would entitle him to relief.” Id. (internal quotations omitted) (emphasis

   in the original). In this case, the parties dispute when plaintiffs should have started to

   investigate the information related to defendant’s conduct. The Court notes that the “red

   flags” raised by plaintiff in support of its argument that defendant should have been aware

   of material misrepresentations also supports defendant’s argument that plaintiff was on

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   inquiry notice as a result of the red flags. But this is a factual question that cannot be

   decided at this stage in the proceedings

   VI.    Conclusion

          For the reasons stated above, the Court GRANTS IN PART and DENIES IN

   PART defendant’s motion to dismiss the second amended complaint [Doc. 63]. The Court

   finds that plaintiffs have sufficiently pled Counts I and III in the SAC. However, the Court

   finds that plaintiffs have failed to plead Count II, that is, scheme liability. In addition, the

   Court DENIES AS MOOT defendant’s original motion to dismiss [Doc. 46].

          IT IS SO ORDERED.


                                       s/ Thomas A. Varlan
                                       CHIEF UNITED STATES DISTRICT JUDGE




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